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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                         BOSTON

Chapter 13

In re: JOHN R DALFERRO

Case Number: 19-13581 MSH

               DEBTOR



          WITHDRAWAL OF NOTICE BY COMMISSIONER OF MASSACHUSETTS
            DEPARTMENT OF REVENUE FOR PREPETITION TAX RETURNS


      Please take notice that based upon further information provided by the debtor,

Christopher C. Harding, as he is Commissioner of Revenue for the Commonwealth

of Massachusetts (hereinafter, "MDOR"), by and through his undersigned agent and attorney-in-fact,

hereby withdraws the Unfiled Prepetition Tax Return Notice By Commissioner Of Massachusetts

Department of Revenue.




                                        CHRISTOPHER C. HARDING
                                        COMMISSIONER
                                        MASSACHUSETTS DEPARTMENT OF REVENUE


                                        By his duly authorized agent,




                                        /s/ Jimmy Wong
                                        MASSACHUSETTS DEPARTMENT OF REVENUE
                                        BANKRUPTCY UNIT - COLLECTIONS BUREAU
                                        100 CAMBRIDGE STREET, PO BOX 9564
                                        BOSTON, MASSACHUSETTS 02114-9564
                                        (617) 626-3875
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                           MASSACHUSETTS DEPARTMENT OF REVENUE
                           COLLECTIONS BUREAU - BANKRUPTCY UNIT

                            100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Christopher C. Harding
                           PO BOX 9564, BOSTON, MASSACHUSETTS 02114-9564
Commissioner
                               Phone: (617) 626-3875 Fax: (617) 626-3796


In re: JOHN R DALFERRO                                              Chapter 13
                                                                    Case Number: 19-13581 MSH



                                       CERTIFICATE OF SERVICE


      I, Jimmy Wong, hereby certify that I have caused the attached Commissioner of the

Massachusetts Department of Revenue's Withdrawal Notice of Unfiled Prepetition Tax Returns and

Request For The Same Pursuant To 11 U.S.C. Section 1308, to be served by first class mail, postage

prepaid, upon parties or persons appearing on the accompanying SERVICE LIST attached hereto who

were not listed as being served electronically upon.




                                         KATHLEEN L. KANE
                                         45 PEARL AVE
                                         WINTHROP, MA 02152-0000



                                         Chapter 13 Trustee
                                         PO BOX 8250
                                         BOSTON, MA 02114

                                         /s/ Jimmy Wong
                                         MASSACHUSETTS DEPARTMENT OF REVENUE
                                         12/04/2019
